Case 1:18-cv-02340-R.]L Document 41 Filed 12/20/18 Page 1 of 4

DOYLE, BARLOW & MAZARD PLLC

A'I'rORNE¥s AT LAW
1110 VERMONT AVE, N.W. 202-589- 1834
SUITE 715 FAX 202-589-1819
WASHINGTON, D.C. 20005-3314 www.dbmlawgroup.com

December 20, 2018

Honorable Richard J. Leon

Senior Judge

U.S. District Court for the District of Columbia
333 Constitution Avenue, NW

Washington. D.C. 20001

Re: United States v. CVS Heallh Corp., No. l:18-cv-02340 (RJL)
Dear Judge Leon:

On behalf of amici curiae, Pharmacists United for Truth and Transparency (“PUTT”) and
Pharmacists Society of the State of New York, Inc. (“PSSNY”), we respectfully request
leave to file this supplemental letter for the limited purpose of providing some thoughts
on CVS Health’s (“CVS”) proposal to the Court to take steps to keep CVS and Aetna Inc.
(“Aetna”) separate during the Court’s Tunney Act review and how to structure the
proposed firewall.

PUTT and PSSNY support the Court’s consideration of CVS’ proposal to keep CVS and
Aetna separate while the Court conducts its determination of whether the proposed Final
Judgment is in the public interest, as required by the Antitrust Procedures and Penalties
Act, 15 U.S.C. § 16. Maintaining the status quo for the entirety of the Tunney Act
proceeding is necessary for the Court’s review to be meaningful Getting the terms right
is important because these proceedings can take a very long time when there are a
number of third parties participating Indeed, Judge Emmet Sullivan just recently
presided over a Tunney Act proceeding that took 27 months from the filing of the
complaint to the entering of the Final Judgment.l

Here, CVS has indicated that it is willing to take the following actions concerning
Aetna’s business so that a broad hold separate order would not be necessary:

1. Aetna’s health insurance business is being operated as a separate and distinct
unit from CVS retail pharmacy and pharmacy benefit manager CVS Caremark
within the CVS Health enterprise. Karen Lynch, formerly Aetna’s President

 

' U.S v. Anheuser-Busch InBev SA/NV and SABMi/ler PLC, 1:16-cv-l483 (October 22, 2018 Order). The
complaint was filed on July 20, 2016. l served as counsel for amici, Consumer Watchdog and Consumer
Action.

Case 1:18-cv-02340-R.]L Document 41 Filed 12/20/18 Page 2 of 4

and currently an Executive Vice President of CVS Health, is leading this
business and reports directly to the CEO.

2. Aetna will maintain its historical control over the pricing and product
offerings brought to market.

3. Aetna personnel will retain their current compensation and benefits

4. CVS Health has and will maintain a tirewall to prevent the exchange of
competitively sensitive information between CVS Health and Aetna.2

PUTT and PSSNY are supportive of the proposal, however, PUTT and PSSNY have
some reservations to which they desire to alert the Court concerning the tirewall based on
past problems that community and independent pharmacists have experienced with CVS.
After CVS and Caremark, the pharmacy benefit manager (“PBM”) arm, merged in 2007,
CVS designed a iirewall to ensure that Caremark and CVS did not share “certain
competitively sensitive information”.3 Post-merger, there were allegations that Caremark
used its PBM business to steer customers to CVS retail pharmacies.4 Through the
merger, CVS obtained competitively sensitive information of non-CVS pharmacies
including the identity of their customers and prescribers, the drugs prescribed, the cost of
the drugs, the amount of the drugs acquired, the drug acquisition cost, and the
reimbursement amount.5 Non-CVS pharmacists believe that Caremark shared its patient
data with CVS’s pharmacy arm and used the information to steer customers toward CVS
pharmacies by directly informing the patients who use non-CVS pharmacies of the risks
of using multiple pharmacies and urging them to consolidate all of their prescription drug
purchases through CVS or pay an increased copay.6 These concerns still exist today.7
This type of conduct could also happen to other medical providers and their patients as
well.

 

2 CVS Health Corporation’s Memorandum ln Response to the Court’s December 3, 2018 Order to Show
Cause at 16 (Dkt. 33).

3 Reed Abelson and Natasha Singer, Pressure Grows to Unwind CVS Merger, New York Times (April 14,
201 1), available at https://www.nytimes.com/201 1/04/15/business/15cvs.html.

4 See Letter from Bruce T. Roberts, executive vice president and chief executive officer, National
Community Pharmacists Association to FTC Chairman William Kovacic, December 23, 2008, available
at http:././www.ncpanet.org-"pdf/legf'cvscaremarkncpaltr.pdt`(outlining competition and privacy concems).

5 Letter from Holly Henry, president, National Community Pharmacists Association to FTC Chairman .lon
Leibowitz; May 12, 2009, available at http:/.-"'www.ncpanet.org.»'pdf/needt`tcinvestigation.pdf (citing potential
violations of the Clayton and the FTC Act).

" See, letters from Roberts and Letter from Henry.

7 Catherine Candisky, Darrel Rowland, and Marty Schladen, Three CVS actions raise concerns for some
pharmacies, consumers, Columbia Dispatch (April 15, 2018), available at
https://www.dispatch.com/news/20180415/three-cvs-actions-raise-concems-for-some-pharmacies-
consumers.

Case 1:18-cv-02340-R.]L Document 41 Filed 12/20/18 Page 3 of 4

CVS states that it currently “has and will maintain a firewall to prevent the exchange of
competitively sensitive information between CVS Health and Aetna.”8 CVS further
states that this provision is analogous to what was done during the pendency of the
Department of Justice’s appeal of AT&T’s acquisition of Time Wamer.9 However, the
firewall in AT&T/Time Warner was more detailed and dealt with a different industry and
set of facts.

In designing a firewall, the Antitrust Division is careful to ensure that the provision
prevents the targeted information from being disseminated so the Court needs to be aware
of what potentially problematic types of information needs to be protected and of how to
effectively isolate that information. U.S. Dep’t of Justice, Antitrust Division Policy Guide
to Merger Remedies, 13 (2011) (“Remedies Guide”). The Remedies Guides also notes
that “effective monitoring also is required to ensure that the firewall provision is adhered
to and is effective”. Id. at 13.

To provide an example of how a firewall may work, we direct the Court by way of
example to look at what the Federal Trade Commission (“FTC”) did in PepsiCo, Inc. in
2010.10 There, PepsiCo was purchasing two bottling companies, which also bottled and
distributed products of PepsiCo’s rival, Dr. Pepper Snapple Group..ll The FTC was
concerned that because Dr. Pepper Snapple Group, a competitor of PepsiCo, provided
commercially sensitive information about its marketing plans to the two bottlers that
PepsiCo might gain access to this inforrnation, which would hurt Dr. Pepper Snapple
Group’s ability to compete.12 Accordingly, the FTC required PepsiCo to set up a
“tirewall” so that the sensitive information could not be accessed by anyone at PepsiCo
who may be in a position to use the information against Dr. Pepper Snapple Group.13

Given that CVS Caremark contracts with pharmacies and health insurers, and that Aetna
purchases pharmacy and PBM services, PUTT and PSSNY submit the following
language for the Court’s consideration:

 

8 CVS Health Corporation’s Memorandum in Response to the Court’s December 3, 2018 Order to Show
Cause at 16.

9 See Letter from Counsel for AT&T to United States, United Stales v. AT& T, [nc., et al., No. l7-cv-251 1,
ECF No. 148 (.|une 14, 2018). AT&T’s firewa|l provision, however, is more detailed as it states that
"AT&T will implement a tirewall between Tumer and AT&T Communications to prevent the transmission
or exchange, either directly or indirectly, of competitively sensitive information of unaffiliated
programmers or distributors For the purposes of the foregoing, “competitively sensitive information”
“means any non-public information relating to contract terms, pricing, or negotiations.”

'° Earlier this year on June 5, 2018, the FTC conditionally approved Northrop Grumman's acquisition of
Orbita| ATK with some behavioral conditions including a tirewall to protect competitor’s confidential
information Press Release. FTC Imposes Conditions on Northrop Grumman's Acquisition of Solid Rocket
Motor Supplier Orbilal A TK, Inc., June 5, 2018.

" Analysis of Agreement Containing Consent Order to Aid Public Comment, In the Matter of PepsiCo,
lnc., FTC File No. 091-0133 (F.T.C. Feb. 26, 2010), available at
https://www.tic.gov/sites/defauIt/files/documents/cases/2010/02/ 100226pepsicoanal.pdf.

12 ld.
‘3 ld.

Case 1:18-cv-02340-R.]L Document 41 Filed 12/20/18 Page 4 of 4

CVS Health will implement a firewall to prevent the exchange,
either directly or indirectly, of competitively sensitive
information of unaffiliated pharmacies, pharmacy benefit
managers, and health insurers, For the purpose of the foregoing,
“competitive sensitive inforrnation” means any non-public
information relating to customer and/or patient data, contract
terms, pricing or negotiations

It also seems appropriate that CVS should be required to periodically certify to the Court
that it is in compliance with its commitments on a monthly basis or be under the
supervision of Julie Myers Wood, the current monitoring trustee, until the Court
completes its Tunney Act review.

Finally, given that there are ninety-five comments and the potential for more third party
participation in this Tunney Act proceeding, the Court may want to consider setting out a
schedule for the DOJ to provide responses to the public comments and for any third
parties to reply to those comments.

Thank you for Your Honor’s kind attention to this matter.

Respe ll ours,

-¢-/

Andre Barlow

Counsel for Pharmacists Unitedfor Truth and
Transparency and Pharmacists Society of the State
of New York, Inc.

